Case: 7:22-cr-00001-REW-EBA Doc#: 86 Filed: 10/07/22 Page: 1 of 2 - Page ID#: 204

Eastern District of Kentuck:

 

FILED
UNITED STATES DISTRICT COURT a
EASTERN DISTRICT OF KENTUCKY OCT O07 Aled
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SOUTHERN DIVISION corm ewe oar
PIKEVILLE
CRIMINAL NO. 7:22-CR-001-REW
UNITED STATES OF AMERICA PLAINTIFF
v. AGREED STIPULATION
JUSTIN BRYANT DEFENDANT
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The parties stipulate and agree to the following facts:
L. That Pike County is located in the Eastern Judicial District of Kentucky.
2. That Government Exhibit 1 contains two items (Item 1.1 and Item 1.2) that have

been tested by the KSP Laboratory. Item 1.1 is a brown substance weighing
approximately 2.330 grams. Item 1.2 is a brown crystalline substance weighing
approximately 0.444 grams. Based on tests conducted by the KSP Laboratory,
both items were found to contain heroin, a Schedule I narcotic; fentanyl a
Schedule II narcotic; and fluorofentanyl (isomer not determined).

3. That Government Exhibit 9 contains two items (Item | and Item 2) that have
been tested by the KSP Laboratory. Item 1 is an off white powder/solid
weighing approximately 0.855 grams, and the KSP Laboratory found it to
contain heroin, a Schedule I narcotic; fentanyl a Schedule II narcotic; and
methamphetamine, a controlled substance. Item 2 is a crystalline substance
weighing approximately 0.404 grams, and the KSP Laboratory found it to
contain methamphetamine, a controlled substance.

This Stipulation is agreed to only so as to expedite the trial and prevent any
inconvenience to the witnesses.

It is further stipulated and agreed that this Stipulation may be read to the jury in its
entirety and introduced into evidence as an exhibit, and that the facts herein stipulated are to
have the same status, dignity, and effect as the uncontradicted testimony of credible
Case: 7:22-cr-00001-REW-EBA Doc#: 86 Filed: 10/07/22 Page: 2 of 2 - Page ID#: 205

witnesses, and may be considered by the jury in the same manner as if they had been so

testified to; and

It is further stipulated and agreed that the representatives of the parties herein may
incorporate the facts contained in this stipulation into any opening or closing statements,
charts or summaries, and none of the parties shall be barred from introducing other evidence
tending to explain the facts stipulated herein or the intent or knowledge of the parties in
relation thereto; and further, any party may introduce other evidence which is not

inconsistent with the facts stipulated.

In agreement with the above stipulation, the parties to this action have affixed their

signatures hereto:

Date: 4/29 [Z9Z%
Date: 4/ Ze | 2027

By:

CARLTON S. SHIER, IV
UNITED STATES ATTORNEY

Andrew H. Trimble
Assistant United States Attorney

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Justin Bryant
Defendant

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Noah Robert Friend
Attorney for Justin Bryant
